Case 1:15-cv-OOO4O Document 11 Filed in TXSD on 05/28/15 Page 1 of 1

UN|TED STATES D|STR|CT COURT
souTHERN DisTRlcT oF TE)<AS - BRovas\/lLLE olvlsloN

DAV|D J. BRADLEY lmra EM$ l“ 600 E. HARRisoN sTREET

CLERK OF COURT

BROWNSV|LLE, TX 78520-7114

MAY 2 8 2015 956-548-2500

Davld.l.andley,ci¢rkotcom_ _
FlLE o’c|ock g - M
May 143 2015ER|C GARZA - olsTRlcT cLERK

MAY 2 1 2015

Mr. Eric GarZa, District Clerk |ST T ` QF` AMER N

Cameron County District Clerk’s Office %MM¢MM
974 E. Harrison Street

Brownsville, Texas 78520

Re: Your Previous Case No.: 2015-DCL-685
Our Civil Action No.: B l 5CV40; l\/lartha Torres vs. Standard Guaranty Insurance Company

Dear Mr. Garza:

Enclosed please find a certified copy of the Order entered on May 14, 2015 remanding the
above-referenced case to state court.

Please acknowledge receipt of the enclosed order by executing the receipt below and
returning it to us.

Very truly yours,

David J. Bradley, Clerk

By: s/ Balvina Camnos
Deputy Clerk

/bc
Enclosure

Filed Under civil Acrion NO.; Q')Ol§ ’ @Ql»` l.O<-é 5
Received On: _ HOU/\ ¢Qlé QOlS
By: l\dthdltt ll)sCu'i/b\/

 

